                                                            United States District Court
                                                              Southern District of Texas

                                                                 ENTERED
                                                                 July 05, 2022
                                                              Nathan Ochsner, Clerk

           UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF TEXAS
                HOUSTON DIVISION

RAMIRO FELIX            § CIVIL ACTION NO.
GONZALES,               § 4:21-cv-00828
             Plaintiff, §
                        §
                        §
    vs.                 § JUDGE CHARLES ESKRIDGE
                        §
                        §
BRYAN COLLIER, et al, §
          Defendants. §

               PRELIMINARY INJUNCTION

     In accordance with the opinion and order on issuance
of preliminary injunction entered this same day, the
following a preliminary injunction is hereby ENTERED:
             The State of Texas may proceed with
         the execution of Ramiro Felix Gonzales on
         July 13, 2022, only if Defendants Bryan
         Collier (as Executive Director of the Texas
         Department of Criminal Justice), Bobby
         Lumpkin (as Director of the Texas Depart-
         ment of Criminal Justice—Correctional
         Institutions Division), and Dennis Crowley
         (as Warden of the Huntsville Unit,
         including any successor) permit his
         spiritual advisor, Reverend Bri-anne
         Swan, to hold his hand, place a hand on his
         chest, and audibly pray during and at the
         time of execution in accordance with the
         tenets of his religion.
             For the avoidance of doubt, the Texas
         Department of Criminal Justice may not
         proceed with the execution of Ramiro Felix
        Gonzales on July 13, 2022, if for any reason
        it decides not to permit any part of these
        specified religious accommodations.
    TDCJ retains discretion under RLUIPA to avoid the
preemptive force of this injunctive relief “by changing the
policy or practice that results in a substantial burden on
religious exercise, by retaining the policy or practice and
exempting the substantially burdened religious exercise,
by providing exemptions from the policy or practice for
applications that substantially burden religious exercise,
or by any other means that eliminates the substantial
burden.” 42 USC § 2000cc-3(e).
    SO ORDERED.


   Signed on July 5, 2022, at Houston, Texas.


                          __________________________
                          Hon. Charles Eskridge
                          United States District Judge




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